                  Case 22-11023-amc                          Doc 8          Filed 04/21/22 Entered 04/21/22 15:23:08                                                         Desc Main
                                                                            Document     Page 1 of 33
Fill in this information to identify your case:


 Debtor 1                Juanita                                                      Godshall
                         First Name                   Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)     First Name                   Middle Name                     Last Name


 United States Bankruptcy Court for the: Eastern                                      District of Pennsylvania


 Case number
  (If known)
                                                                                                                                                 Check if this is an amended filing.



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:               Summarize Your Assets


                                                                                                                                                                         Your assets
                                                                                                                                                                         Value of what you own
 1. Schedule A/B: Property (Official Form 106A/B)
      1a. Copy line 55, Total real estate, from Schedule A/B.........................................................................................................    $                  0.00

      1b. Copy line 62, Total personal property, from Schedule A/B..............................................................................................         $          28,351.42

      1c. Copy line 63, Total of all property on Schedule A/B ........................................................................................................
                                                                                                                                                                         $          28,351.42

 Part 2:               Summarize Your Liabilities



                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe
 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
      2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...........                                          $      16,512.30

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
      3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F..........................................
                                                                                                                                                                             $              0.00

      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .....................................
                                                                                                                                                                         +$         43,228.23

                                                                                                                                    Your total liabilities                   $      59,740.53


 Part 3:               Summarize Your Income and Expenses


 4. Schedule I: Your Income (Official Form 106I)
      Copy your combined monthly income from line 12 of Schedule I .........................................................................................                 $       2,559.19

 5. Schedule J: Your Expenses (Official Form 106J)
      Copy your monthly expenses from line 22, Column A, of Schedule J ..................................................................................                    $       2,770.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
            Case 22-11023-amc                    Doc 8     Filed 04/21/22 Entered 04/21/22 15:23:08                               Desc Main
Debtor 1         Juanita                                   Document
                                                           Godshall     Page 2 of 33 Case number (if known)
                 First Name        Middle Name              Last Name


 Part 4:       Answer These Questions for Administrative and Statistical Records

 6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes



 7. What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and
           submit this form to the court with your other schedules.



 8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                            $         3,556.48




 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                        Total claim


      From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                     $                 0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                            $                 0.00

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                  $                 0.00


    9d. Student loans. (Copy line 6f.)                                                                   $                 0.00

    9e. Obligations arising out of a separation agreement or divorce that you did not report as          $                 0.00
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                   0.00


    9g. Total. Add lines 9a through 9f.                                                                  $                 0.00




 Official Form 106Sum                Summary of Your Assets and Liabilities and Certain Statistical Information                                   page 2 of 2
                Case 22-11023-amc                       Doc 8     Filed 04/21/22 Entered 04/21/22 15:23:08                             Desc Main
                                                                  Document     Page 3 of 33
Fill in this information to identify your case:


 Debtor 1              Juanita                                            Godshall
                       First Name                   Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name                   Middle Name           Last Name


 United States Bankruptcy Court for the: Eastern                          District of Pennsylvania


 Case number
  (If known)
                                                                                                                   Check if this is an amended filing.

Official Form 106A/B
Schedule A/B Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write your name and case number (if known). Answer every question.


Part 1:            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.
            Yes. Where is the property?
                                                                  What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                   Single-family home                              the amount of any secured claims on Schedule
                                                                                                                    D: Creditors Who Have Claims Secured by
    1.1.                                                           Duplex or multi-unit building                   Property.
            Street address, if available, or other description     Condominium or cooperative                      Current value of the Current value of the
                                                                   Manufactured or mobile home                     entire property?     portion you own?
                                                                   Land
                                                                   Investment property                             $                       $
                                                                   Timeshare
                                                                   Other                                           Describe the nature of your ownership
                                                                                                                    interest (such as fee simple, tenancy by
            City                            State      ZIP Code                                                     the entireties, or a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                                                                   Debtor 1 only
                                                                   Debtor 2 only
                                                                   Debtor 1 and Debtor 2 only                           Check if this is community

            County
                                                                   At least one of the debtors and another               property (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:
    If you own or have more than one, list here:
                                                                  What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                   Single-family home                              the amount of any secured claims on Schedule
                                                                                                                    D: Creditors Who Have Claims Secured by
    1.2.                                                           Duplex or multi-unit building                   Property.
            Street address, if available, or other description     Condominium or cooperative                      Current value of the Current value of the
                                                                   Manufactured or mobile home                     entire property?     portion you own?
                                                                   Land
                                                                   Investment property                             $                        $
                                                                   Timeshare
                                                                   Other                                           Describe the nature of your ownership
                                                                                                                    interest (such as fee simple, tenancy by
            City                            State      ZIP Code                                                     the entireties, or a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                                                                   Debtor 1 only
                                                                   Debtor 2 only
                                                                   Debtor 1 and Debtor 2 only                           Check if this is community

            County
                                                                   At least one of the debtors and another               property (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:

Official Form 106A/B                                                          Schedule A/B: Property                                                        page 1
             Case 22-11023-amc                          Doc 8      Filed 04/21/22 Entered 04/21/22 15:23:08                                Desc Main
Debtor 1           Juanita                                         Document
                                                                   Godshall     Page 4 of 33 Case number (if known)
                   First Name            Middle Name                Last Name


                                                                   What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                                the amount of any secured claims on Schedule D:
   1.3.                                                             Duplex or multi-unit building                     Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description       Condominium or cooperative                        Current value of the Current value of the
                                                                    Manufactured or mobile home                       entire property?     portion you own?
                                                                    Land
                                                                    Investment property                               $                         $
                                                                    Timeshare
                                                                    Other                                             Describe the nature of your ownership
                                                                                                                       interest (such as fee simple, tenancy by
           City                            State       ZIP Code                                                        the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                    Debtor 1 only
                                                                    Debtor 2 only
                                                                    Debtor 1 and Debtor 2 only                             Check if this is community property

           County
                                                                    At least one of the debtors and another                 (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                     $           0.00
   you have attached for Part 1. Write that number here. ................................................................................... 




Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any
vehicles you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired
Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
    No
    Yes

           Make:                       Hyundai                    Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
  3.1.

           Model:                      Tucson
                                                                     Debtor 1 only                                    the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Claims Secured by Property.
                                                                     Debtor 2 only
           Year:                       2019                          Debtor 1 and Debtor 2 only                       Current value of the Current value of the
           Approximate mileage: 12000                                At least one of the debtors and another          entire property?     portion you own?

           Other information:
                                                                     Check if this is community property (see
                                                                                                                       $          20,234.00      $        20,234.00
                                                                      instructions)



   If you own or have more than one, describe here:

           Make:                       Toyota                     Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
  3.2.

           Model:                      Rav 4
                                                                     Debtor 1 only                                    the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Claims Secured by Property.
                                                                     Debtor 2 only
           Year:                       2011                          Debtor 1 and Debtor 2 only                       Current value of the Current value of the
           Approximate mileage: 29000                                At least one of the debtors and another          entire property?     portion you own?

           Other information:
                                                                     Check if this is community property (see
                                                                                                                       $           9,693.00      $
            Debtor has bare legal title only                          instructions)




Official Form 106A/B                                                            Schedule A/B: Property                                                         page 2
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                                                          Trade-in Range
                                                       $9,693 - $10,922
                                                           Trade-in Value
                                                              $10,308
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                                                        Private Party Range
                                                      $20,234 - $22,339
                                                         Private Party Value
                                                               $21,287
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Debtor 1          Juanita                                                   Document
                                                                            Godshall     Page 7 of 33 Case number (if known)
                  First Name                Middle Name                      Last Name


                                                                            Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
     3.3. Make:

            Model:
                                                                                 Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                                 Debtor 2 only
            Year:                                                                Debtor 1 and Debtor 2 only                                       Current value of the Current value of the
            Approximate mileage:                                                 At least one of the debtors and another                          entire property?     portion you own?

            Other information:
                                                                                 Check if this is community property (see
                                                                                  instructions)                                                    $                              $



                                                                            Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
     3.4. Make:

            Model:
                                                                                 Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                                 Debtor 2 only
            Year:                                                                Debtor 1 and Debtor 2 only                                       Current value of the Current value of the
            Approximate mileage:                                                 At least one of the debtors and another                          entire property?     portion you own?

            Other information:
                                                                                 Check if this is community property (see
                                                                                  instructions)                                                    $                              $




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
    ..No
     Yes

                                                                            Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
     4.1. Make:

            Model:
                                                                                 Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                                 Debtor 2 only
            Year:                                                                Debtor 1 and Debtor 2 only                                       Current value of the Current value of the
            Other information:                                                   At least one of the debtors and another                          entire property?     portion you own?


                                                                                 Check if this is community property (see
                                                                                  instructions)                                                    $                              $




    If you own or have more than one, list here:
                                                                            Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
     4.2. Make:

            Model:
                                                                                 Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                                 Debtor 2 only
            Year:                                                                Debtor 1 and Debtor 2 only                                       Current value of the Current value of the
            Other information:                                                   At least one of the debtors and another                          entire property?     portion you own?


                                                                                 Check if this is community property (see
                                                                                  instructions)                                                    $                              $




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                  $   20,234.00
   you have attached for Part 2. Write that number here ..................................................................................................................... 




Official Form 106A/B                                                                       Schedule A/B: Property                                                                          page 3
              Case 22-11023-amc                               Doc 8           Filed 04/21/22 Entered 04/21/22 15:23:08                                                           Desc Main
Debtor 1          Juanita                                                     Document
                                                                              Godshall     Page 8 of 33 Case number (if known)
                  First Name                  Middle Name                       Last Name

Part 3:       Describe Your Personal and Household Items
                                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                portion you own?
                                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                 or exemptions.

6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    ..No
                                        Personal furnishings
    ..Yes. Describe. ....                                                                                                                                                       $                 500.00

7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
              collections; electronic devices including cell phones, cameras, media players, games
    ..No
                                        TV, Radio, Computer, Tablet
    ..Yes. Describe. ....                                                                                                                                                       $                 100.00

8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    ..No
    ..Yes. Describe. ....                                                                                                                                                       $

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
              canoes and kayaks; carpentry tools; musical instruments
    ..No
                                        Hobby craft supplies
    ..Yes. Describe. ....                                                                                                                                                       $                  75.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    ..No
    ..Yes. Describe. ....                                                                                                                                                       $

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    ..No
                                        Personal clothing
    ..Yes. Describe. ....                                                                                                                                                       $                 100.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
    ..No
                                        Costume Jewelry
    ..Yes. Describe. ....                                                                                                                                                       $                 100.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

    ..No
    ..Yes. Describe. ....                                                                                                                                                       $


14. Any other personal and household items you did not already list, including any health aids you did not list

    ..No
    ..Yes. Describe. ....                                                                                                                                                       $

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have                                                                             $                875.00
    attached for Part 3. Write that number here ............................................................................................................................... 



Official Form 106A/B                                                                           Schedule A/B: Property                                                                                page 4
             Case 22-11023-amc                                          Doc 8               Filed 04/21/22 Entered 04/21/22 15:23:08                                                                      Desc Main
Debtor 1           Juanita                                                                  Document
                                                                                            Godshall     Page 9 of 33 Case number (if known)
                   First Name                        Middle Name                              Last Name


Part 4:       Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                                                                                                 Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                                                            claims or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

         No
         Yes .............................................................................................................................................................. 
                                                                                                                                                                                   Cash: ................... $                 6.00



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage
             houses, and other similar institutions. If you have multiple accounts with the same institution, list each.
          No
          Yes....................                                                                     Institution name:


                                             17.1. Checking account:                                   PNC Bank                                                                                             $                 500.00

                                             17.2. Checking account:                                                                                                                                        $

                                             17.3. Savings account:                                                                                                                                         $

                                             17.4. Savings account:                                                                                                                                         $

                                             17.5. Certificates of deposit:                                                                                                                                 $

                                             17.6. Other financial account:                                                                                                                                 $

                                             17.7. Other financial account:                                                                                                                                 $

                                             17.8. Other financial account:                                                                                                                                 $

                                             17.9. Other financial account:                                                                                                                                 $




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
         No
         Yes ...............               Institution or issuer name:

                                                                                                                                                                                                            $

                                                                                                                                                                                                            $

                                                                                                                                                                                                            $



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an
    interest in an LLC, partnership, and joint venture
    No                                     Name of entity:                                                                                                                       % of ownership:
   Yes. Give specific
           information about                                                                                                                                                      0.00 %                    $
           them.
                                                                                                                                                                                  0.00 %                    $

                                                                                                                                                                                                            $
                                                                                                                                                                                  0.00 %




Official Form 106A/B                                                                                             Schedule A/B: Property                                                                                       page 5
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Debtor 1          Juanita                                               Document
                                                                         Godshall     Page 10 of 33 Case number (if known)
                  First Name                     Middle Name              Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

  No
  Yes. Give specific                    Issuer name:
           information about                                                                                                     $
           them. ...................
                                                                                                                                 $

                                                                                                                                 $

21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each
       account separately. Type of account:        Institution name:

                                          401(k) or similar plan:     Voya                                                       $           6,736.42

                                          Pension plan:                                                                          $

                                          IRA:                                                                                   $

                                          Retirement account:                                                                    $

                                          Keogh:                                                                                 $

                                          Additional account:                                                                    $

                                          Additional account:                                                                    $


22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others
    No
          Yes ........................                          Institution name or individual:

                                          Electric:                                                                              $

                                          Gas:                                                                                   $

                                          Heating oil:                                                                           $

                                          Security deposit on rental unit:                                                       $

                                          Prepaid rent:                                                                          $

                                                                                                                                 $
                                          Telephone:
                                                                                                                                 $
                                          Water:
                                                                                                                                 $
                                          Rented furniture:
                                                                                                                                 $
                                          Other:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
    Yes ..........................       Issuer name and description:
                                                                                                                                     $

                                                                                                                                     $

                                                                                                                                     $

Official Form 106A/B                                                                  Schedule A/B: Property                                   page 6
             Case 22-11023-amc                                      Doc 8    Filed 04/21/22 Entered 04/21/22 15:23:08                                   Desc Main
Debtor 1           Juanita                                                  Document
                                                                             Godshall     Page 11 of 33 Case number (if known)
                   First Name                         Middle Name            Last Name


24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
          Yes ................................... Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                                                                                                                         $

                                                                                                                                                         $
                                                                                                                                                         $


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit
    No
          Yes. Give specific
           information about them.                                                                                                                       $
           ........................................

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
          Yes. Give specific
           information about them.                                                                                                                       $

27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
          Yes. Give specific
           information about them.                                                                                                                       $


Money or property owed to you?                                                                                                                           Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you
    No
          Yes. Give specific information about                                                                                      Federal:                $
           them, including whether you
           already filed the returns and the tax                                                                                     State:                  $
           years. ............................................
                                                                                                                                     Local:                  $


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
    Yes. Give specific information. ..........
                                                                                                                                  Alimony:               $
                                                                                                                                  Maintenance:           $
                                                                                                                                  Support:               $
                                                                                                                                  Divorce settlement:    $
                                                                                                                                  Property settlement: $

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
             compensation, Social Security benefits; unpaid loans you made to someone else
    No
    Yes. Give specific information. ..........
                                                                                                                                                             $




Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 7
              Case 22-11023-amc                               Doc 8           Filed 04/21/22 Entered 04/21/22 15:23:08                                                              Desc Main
Debtor 1          Juanita                                                    Document
                                                                              Godshall     Page 12 of 33 Case number (if known)
                  First Name                  Middle Name                       Last Name


31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

          No

           Yes.Name the insurance company                      Company name:                                                        Beneficiary:                                    Surrender or refund
                                                                                                                                                                                     value:
            of each policy and list its value. ....
                                                                Progressive Auto                                                     Debtor
                                                                                                                                                                                      $
                                                                Keystone Health Plan East                                             Debtor
                                                                                                                                                                                      $
                                                                                                                                                                                      $
32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to
   receive property because someone has died.
     No
          Yes. Give specific information. ........                                                                                                                                   $


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
          Yes. Describe each claim. .............                                                                                                                                    $

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
          No

          Yes. Describe each claim.............                                                                                                                                      $




35. Any financial assets you did not already list

     No
                                                                                                                                                                                      $
     Yes. Give specific information.....

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here ...............................................................................................................................          $      7,242.42


Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
          No. Go to Part 6.
          Yes. Go to line 38.
                                                                                                                                                                                     Current value of the
                                                                                                                                                                                     portion you own?
                                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                                     claims or exemptions.

38. Accounts receivable or commissions you already earned
         No

          Yes. Describe .                                                                                                                                                            $

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

          No

          Yes. Describe .                                                                                                                                                            $


Official Form 106A/B                                                                           Schedule A/B: Property                                                                                 page 8
               Case 22-11023-amc                                 Doc 8            Filed 04/21/22 Entered 04/21/22 15:23:08                                                                   Desc Main
Debtor 1           Juanita                                                       Document
                                                                                  Godshall     Page 13 of 33 Case number (if known)
                   First Name                   Middle Name                         Last Name



40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
           No
           Yes. Describe .                                                                                                                                                                    $


41. Inventory
    No
           Yes. Describe .                                                                                                                                                                    $



42. Interests in partnerships or joint ventures
           No
           Yes. Describe ..... Name of entity:                                                                                                                 % of ownership:

                                                                                                                                                                              0.00%           $

                                                                                                                                                                              0.00%           $                 0.00
                                                                                                                                                                              0.00%           $



43. Customer lists, mailing lists, or other compilations
    No
          Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   No
                   Yes. Describe. .......                                                                                                                                                     $



44. Any business-related property you did not already list
    No
           Yes. Give                                                                                                                                                                         $
            specific
            information                                                                                                                                                                       $
                                                                                                                                                                                             $
                                                                                                                                                                                             $
                                                                                                                                                                                             $
                                                                                                                                                                                              $


45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                 $                0.00
    for Part 5. Write that number here ................................................................................................................................................. 


Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.
                                                                                                                                                                                            Current value of the
                                                                                                                                                                                              portion you own?
                                                                                                                                                                                              Do not deduct secured
                                                                                                                                                                                              claims or exemptions.
47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
        No
           Yes ....................
                                                                                                                                                                                               $


Official Form 106A/B                                                                                Schedule A/B: Property                                                                                      page 9
               Case 22-11023-amc                                    Doc 8            Filed 04/21/22 Entered 04/21/22 15:23:08                                                                    Desc Main
Debtor 1            Juanita                                                         Document
                                                                                     Godshall     Page 14 of 33 Case number (if known)
                    First Name                    Middle Name                          Last Name


48. Crops—either growing or harvested
           No
           Yes. Give specific
             information..............                                                                                                                                                                    $

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    No
           Yes .....................
                                                                                                                                                                                                          $

50. Farm and fishing supplies, chemicals, and feed
           No
           Yes ...................
                                                                                                                                                                                                          $

51. Any farm- and commercial fishing-related property you did not already list
          No
           Yes. Give specific
            information. ........                                                                                                                                                                         $

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here .................................................................................................................................................             $            0.00


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership

           No
                                                                                                                                                                                                      $
           Yes. Give
            specific
                                                                                                                                                                                                      $
            information. .....

                                                                                                                                                                                                      $



54. Add the dollar value of all of your entries from Part 7. Write that number here ..............................................................                                                   $            0.00


Part 8:          List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ............................................................................................................................................................       $        0.00

56. Part 2: Total vehicles, line 5                                                                              $               20,234.00

57. Part 3: Total personal and household items, line 15                                                         $                    875.00

58. Part 4: Total financial assets, line 36                                                                     $                 7,242.42

59. Part 5: Total business-related property, line 45                                                            $                        0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                   $                        0.00

61. Part 7: Total other property not listed, line 54                                                         +$                          0.00

62. Total personal property. Add lines 56 through 61...................                                         $               28,351.42 Copy personal property total                               +$      28,351.42



63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                 $   28,351.42



Official Form 106A/B                                                                                    Schedule A/B: Property                                                                                  page 10
                 Case 22-11023-amc                     Doc 8          Filed 04/21/22 Entered 04/21/22 15:23:08                               Desc Main
Fill in this information to identify your case:
                                                                     Document      Page 15 of 33

 Debtor 1               Juanita                                              Godshall
                        First Name                 Middle Name                Last Name

 Debtor 2
  (Spouse, if filing)   First Name                 Middle Name                Last Name


  United States Bankruptcy Court for the: Eastern                            District of Pennsylvania


 Case number
   (If known)
                                                                                                                          Check if this is an amended filing.



Official Form 106C
Schedule C: The Property You Claim As Exempt                                                                                                                     04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Part 1:             Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

          Brief description of the property and line on          Current value of the       Amount of the exemption you claim         Specific laws that allow
          Schedule A/B that lists this property                  portion you own                                                      exemption
                                                                 Copy the value from        Check only one box for each
                                                                 Schedule A/B               exemption.

         Brief                                                                                                                      11 USC 522(d)(2)
         description:           Hyundai Tucson                   $           20,234.00     $         3,721.70
         Line from                                                                          100% of fair market value, up to
         Schedule               3.1                                                               any applicable statutory limit
         A/B:
         Brief                                                                                                                      11 USC 522(d)(5)
         description:           Toyota                           $                         $         9,693.00
         Line from                                                                          100% of fair market value, up to
         Schedule               3.2                                                               any applicable statutory limit
         A/B:
         Brief                                                                                                                      11 USC 522(d)(3)
         description:           Personal furnishings             $              500.00     $            500.00
         Line from                                                                          100% of fair market value, up to
         Schedule               6                                                                 any applicable statutory limit
         A/B:

3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

      No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes
Official Form 106C                                                   Schedule C: The Property You Claim As Exempt                                            page 1 of 2
           Case 22-11023-amc                        Doc 8        Filed 04/21/22 Entered 04/21/22 15:23:08                               Desc Main
Debtor 1      Juanita                                           Document
                                                                 Godshall     Page 16 of 33 Case number (if known)
              First Name              Middle Name                Last Name


Part 2:      Additional Page

      Brief description of the property and line on         Current value of the        Amount of the exemption you claim         Specific laws that allow
      Schedule A/B that lists this property                 portion you own                                                       exemption
                                                            Copy the value from         Check only one box for each exemption
                                                            Schedule A/B

       Brief                                                                                                                    11 USC 522(d)(3)
       description:        TV, Radio, Computer, Tab         $                 100.00       $         100.00
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:           7                                                            any applicable statutory limit

       Brief                                                                                                                    11 USC 522(d)(3)
       description:        Hobby craft supplies             $                  75.00       $          75.00
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:           9                                                            any applicable statutory limit

       Brief                                                                                                                    11 USC 522(d)(3)
       description:        Personal clothing                $                 100.00       $         100.00
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:          11                                                            any applicable statutory limit

       Brief                                                                                                                    11 USC 522(d)(4)
       description:        Costume Jewelry                  $                 100.00       $         100.00
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:          12                                                            any applicable statutory limit

       Brief                                                                                                                    11 USC 522(d)(5)
       description:        Cash                             $                    6.00      $            6.00
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:          16                                                            any applicable statutory limit

       Brief                                                                                                                    11 USC 522(d)(5)
       description:
                           PNC Bank                         $                 500.00       $         500.00
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:         17.1                                                           any applicable statutory limit

       Brief                                                                                                                    11 USC 522(d)(12)
       description:        Voya                             $                6,736.42      $       6,736.42
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:         21.1                                                           any applicable statutory limit

       Brief
       description:                                         $                              $
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:                                                                        any applicable statutory limit

       Brief
       description:                                         $                              $
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:                                                                        any applicable statutory limit

       Brief
       description:                                         $                              $
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:                                                                        any applicable statutory limit

       Brief
       description:                                         $                              $
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:                                                                        any applicable statutory limit

       Brief
       description:                                         $                              $
       Line from                                                                           100% of fair market value, up to
       Schedule A/B:                                                                        any applicable statutory limit


Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 2 of 2
                Case 22-11023-amc                      Doc 8      Filed 04/21/22 Entered 04/21/22 15:23:08                                 Desc Main
Fill in this information to identify your case:
                                                                 Document      Page 17 of 33

 Debtor 1              Juanita                                             Godshall
                       First Name                 Middle Name              Last Name

 Debtor 2
 (Spouse, if filing)   First Name                 Middle Name              Last Name


 United States Bankruptcy Court for the: Eastern                           District of Pennsylvania


 Case number
  (If known)
                                                                                                                        Check if this is an amended filing.

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).
1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:        List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor                 Column A               Column B              Column C
      separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral   Unsecured
      creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the      that supports this    portion
      creditor’s name.                                                                                       value of collateral.   claim                 If any

2.1
                                                          Describe the property that secures the claim:      $          16,512.30 $          20,234.00 $
      Citizens Bank N.A. Bankruptcy Dept.
      Creditor’s Name
                                                          2019 Hyundai
      1                 Citizens Drive
      Number            Street                            As of the date you file, the claim is: Check all
                                                          that apply.
      Mailstop ROP15B                                      Contingent
      Riverside                     RI      02903          Unliquidated
      City                          State   ZIP Code       Disputed
  Who owes the debt? Check one.                           Nature of lien. Check all that apply.
   Debtor 1 only                            An agreement you made (such as mortgage or
   Debtor 2 only                             secured car loan)
   Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another  Judgment lien from a lawsuit
   Check if this claim relates to a         Other (including a right to offset)
          community debt
  Date debt was incurred 12/23/2019                       Last 4 digits of account number 8 2 0 5
2.2                                                       Describe the property that secures the claim:      $                      $                      $
      Creditor’s Name


      Number            Street                            As of the date you file, the claim is: Check all
                                                          that apply.
                                                           Contingent
                                                           Unliquidated
      City                          State   ZIP Code       Disputed
  Who owes the debt? Check one.                           Nature of lien. Check all that apply.
   Debtor 1 only                            An agreement you made (such as mortgage
   Debtor 2 only                             or secured car loan)
   Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another  Judgment lien from a lawsuit
   Check if this claim relates to a         Other (including a right to offset)
          community debt
  Date debt was incurred                                  Last 4 digits of account number
 Add the dollar value of your entries in Column A on this page. Write that number here:                      $          16,512.30

Official Form 106D                                         Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of 2
             Case 22-11023-amc                  Doc 8       Filed 04/21/22 Entered 04/21/22 15:23:08                              Desc Main
Debtor 1       Juanita                                     Document
                                                            Godshall     Page 18 of 33 Case number (if known)
               First Name         Middle Name               Last Name

Part 2:         List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.
2.1                                                                                         On which line in Part 1 did you enter the creditor?
      Citizens One Auto Finance
      Name                                                                                  Last 4 digits of account number 8       2    0    5

      One           Citizens Bank Way
      Number        Street




      Johnston                                     RI               02919
      City                                         State            ZIP Code

                                                                                            On which line in Part 1 did you enter the creditor?
      Name                                                                                  Last 4 digits of account number

      Number        Street




      City                                         State            ZIP Code

                                                                                            On which line in Part 1 did you enter the creditor?
      Name                                                                                  Last 4 digits of account number

      Number        Street




      City                                         State            ZIP Code

                                                                                            On which line in Part 1 did you enter the creditor?
      Name                                                                                  Last 4 digits of account number

      Number        Street




      City                                         State            ZIP Code

                                                                                            On which line in Part 1 did you enter the creditor?
      Name                                                                                  Last 4 digits of account number

      Number        Street




      City                                         State            ZIP Code

                                                                                            On which line in Part 1 did you enter the creditor?
      Name                                                                                  Last 4 digits of account number

      Number        Street




      City                                         State            ZIP Code

Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 2
                 Case 22-11023-amc                       Doc 8        Filed 04/21/22 Entered 04/21/22 15:23:08                                    Desc Main
Fill in this information to identify your case:
                                                                     Document      Page 19 of 33

 Debtor 1              Juanita                                                Godshall
                       First Name                  Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing)   First Name                  Middle Name                 Last Name


 United States Bankruptcy Court for the: Eastern                              District of Pennsylvania


 Case number
  (If known)                                                                                                                   Check if this is an amended filing.

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

Part 1:           List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.
           Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
      each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
      nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
      unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                Total claim   Priority   Nonpriority
                                                                                                                                              amount     amount
2.1
                                                                 Last 4 digits of account number                                $             $          $        0.00
       Priority Creditor’s Name
                                                                 When was the debt incurred?
       Number             Street

                                                                 As of the date you file, the claim is: Check all that apply.
                                                                     Contingent
       City                           State   ZIP Code               Unliquidated
       Who incurred the debt? Check one.                             Disputed
              Debtor 1 only
                                                                 Type of PRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only                            Domestic support obligations
              At least one of the debtors and another               Taxes and certain other debts you owe the
                                                                      government
              Check if this claim is for a community debt
                                                                     Claims for death or personal injury while you
       Is the claim subject to offset?                                were intoxicated
              No                                                    Other. Specify
              Yes
2.2
                                                                 Last 4 digits of account number                                $             $          $        0.00
       Priority Creditor’s Name
                                                                 When was the debt incurred?
       Number             Street

                                                                 As of the date you file, the claim is: Check all that apply.
                                                                     Contingent
       City                           State   ZIP Code               Unliquidated
       Who incurred the debt? Check one.                             Disputed
        Debtor 1 only                                           Type of PRIORITY unsecured claim:
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                  Domestic support obligations
        At least one of the debtors and another                     Taxes and certain other debts you owe the
                                                                      government
              Check if this claim is for a community debt
                                                                     Claims for death or personal injury while you
       Is the claim subject to offset?                                were intoxicated
          No                                                        Other. Specify
          Yes
Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1 of 7
                Case 22-11023-amc                    Doc 8     Filed 04/21/22 Entered 04/21/22 15:23:08                                    Desc Main
Debtor 1             Juanita                                  Document
                                                               Godshall     Page 20 of 33 Case number (if known)
                     First Name        Middle Name              Last Name


Part 2:           List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
           No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes
4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured
       claims fill out the Continuation Page of Part 2.
                                                                                                                                                    Total claim
 4.1
         Capital One Bankruptcy Department (P)                                    Last 4 digits of account number 3 4 8 8                       $           11,468.17
         Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?         mscl. dates
         P.O.             Box 30285
         Number           Street                                                  As of the date you file, the claim is: Check all that
         Salt Lake City                              UT        84130-0285           apply.
         City                                        State     ZIP Code
                                                                                       Contingent
         Who incurred the debt? Check one.
                                                                                       Unliquidated
               Debtor 1 only
                                                                                       Disputed
               Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another                                Student loans

               Check if this claim is for a community debt
                                                                                       Obligations arising out of a separation agreement
                                                                                        or divorce that you did not report as priority claims
         Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other
               No                                                                      similar debts
               Yes                                                                    Other. Specify credit card
 4.2
         Discover Financial Services LLC (P)                                      Last 4 digits of account number 1 5 7 3                       $            7,989.70
         Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?         mscl. dates
         P.O.             Box 3025
         Number           Street
                                                                                  As of the date you file, the claim is: Check all that
         New Albany                                  OH        43054-3025           apply.
         City                                        State     ZIP Code

         Who incurred the debt? Check one.
                                                                                       Contingent
                                                                                       Unliquidated
               Debtor 1 only
                                                                                       Disputed
               Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another                                Student loans

               Check if this claim is for a community debt
                                                                                       Obligations arising out of a separation agreement
                                                                                        or divorce that you did not report as priority claims
         Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other
               No                                                                      similar debts
               Yes                                                                    Other. Specify credit card
 4.3
         TD Bank Card Services                                                    Last 4 digits of account number 6 9 1 8                       $            6,788.15
         Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?         mscl. dates
         P.O.             Box 84037
         Number           Street
                                                                                  As of the date you file, the claim is: Check all that
         Columbus                                    GA        31908-4037           apply.
         City                                        State     ZIP Code

         Who incurred the debt? Check one.
                                                                                      Contingent
                                                                                      Unliquidated
               Debtor 1 only
                                                                                      Disputed
               Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another                               Student loans

               Check if this claim is for a community debt
                                                                                      Obligations arising out of a separation agreement or
                                                                                      divorce that you did not report as priority claims
         Is the claim subject to offset?                                              Debts to pension or profit-sharing plans, and other
               No                                                                    similar debts
               Yes                                                                   Other. Specify credit card

Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                            page 2 of 7
              Case 22-11023-amc                    Doc 8       Filed 04/21/22 Entered 04/21/22 15:23:08                                Desc Main
Debtor 1         Juanita                                      Document
                                                               Godshall     Page 21 of 33 Case number (if known)
                 First Name          Middle Name               Last Name


Part 2:         Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                    Total claim

 4.4
       TD Bank N.A.                                                          Last 4 digits of account number 0 9 9 0
       Nonpriority Creditor’s Name                                                                                                        $             4,249.61
       P.O.           Box 84037
       Number          Street                                                When was the debt incurred?        mscl. dates

       Columbus                                    GA         31908-4037     As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt
                                                                                 Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify credit card

 4.5
       Bank of America N.A. (P)                                              Last 4 digits of account number 7 0 7 8
       Nonpriority Creditor’s Name                                                                                                        $             5,267.09
       P.O.           Box 673033
       Number          Street                                                When was the debt incurred?        mscl. dates

       Dallas                                      TX         75267-3303     As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt
                                                                                 Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify credit card

 4.6
       Synchrony Bank/Amazon PLCC                                            Last 4 digits of account number 3 5 6 3
       Nonpriority Creditor’s Name                                                                                                        $             4,203.22
       P.O.           Box 966015
       Number          Street                                                When was the debt incurred?        mscl. dates

       Orlando                                     FL         32896-5015     As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt                        Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify credit card


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3 of 7
              Case 22-11023-amc                    Doc 8       Filed 04/21/22 Entered 04/21/22 15:23:08                                Desc Main
Debtor 1         Juanita                                      Document
                                                               Godshall     Page 22 of 33 Case number (if known)
                 First Name          Middle Name               Last Name


Part 2:         Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                    Total claim

 4.7
       Citibank (P)                                                          Last 4 digits of account number 1 6 9 5
       Nonpriority Creditor’s Name                                                                                                        $             2,936.83
       P.O.           Box 790034
       Number          Street                                                When was the debt incurred?        mscl. dates

       St. Louis                                   MO         63179-0034     As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt
                                                                                 Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify credit card

 4.8
       Synchrony Bank/QVC                                                    Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                        $              325.46
       P.O.           Box 965005
       Number          Street                                                When was the debt incurred?        mscl. dates

       Orlando                                     FL         32896          As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt
                                                                                 Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify credit card


       Nonpriority Creditor’s Name
                                                                             Last 4 digits of account number
                                                                                                                                          $

       Number          Street                                                When was the debt incurred?


       City                                        State      ZIP Code
                                                                             As of the date you file, the claim is: Check all that
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt                        Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4 of 7
            Case 22-11023-amc                     Doc 8      Filed 04/21/22 Entered 04/21/22 15:23:08                              Desc Main
Debtor 1       Juanita                                      Document
                                                             Godshall     Page 23 of 33 Case number (if known)
               First Name         Middle Name                 Last Name

Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
   collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
   collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
   creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     Capital One                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                          Line 4.1 of (Check one):           Part 1: Creditors with Priority Unsecured
     P.O.           Box 71083
     Number         Street                                                                                    Claims
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     Charlotte                               NC             28272-1083
     City                                    State          ZIP Code
                                                                          Last 4 digits of account number 3 4 8 8

     Discover                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                          Line 4.2 of (Check one):           Part 1: Creditors with Priority Unsecured
     P.O.           Box 30943
     Number         Street                                                                                    Claims
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     Salt Lake City                          UT             UT
     City                                    State          ZIP Code
                                                                          Last 4 digits of account number 1 5 7 3


     TD Bank NA Attn: USBC                                                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                          Line 4.3 of (Check one):           Part 1: Creditors with Priority Unsecured
     200            Carolina Point Parkway                                                                    Claims
     Number         Street

     Building B
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     Greenville                              SC             29607-5766    Last 4 digits of account number 6 9 18
     City                                    State          ZIP Code


     TD Bank NA                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                          Line 4.4 of (Check one):           Part 1: Creditors with Priority Unsecured
     P.O.           Box 100290                                                                                Claims
     Number         Street
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     Columbia                                SC             29202-3290    Last 4 digits of account number 0 9 9 0
     City                                    State          ZIP Code


     Bank of America                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                          Line 4.5 of (Check one):           Part 1: Creditors with Priority Unsecured
     P.O.           Box 672050                                                                                Claims
     Number         Street
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     Dallas                                  TX             75267-2050
                                                                          Last 4 digits of account number 7 0 7 8
     City                                    State          ZIP Code


     Synchrony Bank Attn. Bankruptcy Department                           On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                          Line 4.6 of (Check one):           Part 1: Creditors with Priority Unsecured
     P.O.           Box 965065                                                                                Claims
     Number         Street
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     Orlando                                 FL             32896-5065
                                                                          Last 4 digits of account number 3 5 6 3
     City                                    State          ZIP Code


     Citibank Customer Service                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                          Line 4.7 of (Check one):           Part 1: Creditors with Priority Unsecured
     P.O.           Box 6500
     Number         Street                                                                                    Claims
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     Sioux Falls                             SD             57117
     City                                    State          ZIP Code      Last 4 digits of account number 1 6 9 5

Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                       page 5 of 7
            Case 22-11023-amc                   Doc 8      Filed 04/21/22 Entered 04/21/22 15:23:08                                Desc Main
Debtor 1       Juanita                                    Document
                                                           Godshall     Page 24 of 33 Case number (if known)
               First Name         Middle Name               Last Name

Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
   collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
   collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
   creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     Synchrony Bank Attn. Bankruptcy Department                          On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                         Line 4.8 of (Check one):            Part 1: Creditors with Priority Unsecured
     P.O.           Box 965065
     Number         Street                                                                                    Claims
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     Orlando                               FL             32896-5065
     City                                  State          ZIP Code
                                                                         Last 4 digits of account number 2 7 1 1

                                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                         Line    of (Check one):             Part 1: Creditors with Priority Unsecured
     Number         Street                                                                                    Claims
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     City                                  State          ZIP Code
                                                                         Last 4 digits of account number

                                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                         Line    of (Check one):             Part 1: Creditors with Priority Unsecured
                                                                                                              Claims
     Number         Street
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims

                                                                         Last 4 digits of account number
     City                                  State          ZIP Code

                                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                         Line    of (Check one):             Part 1: Creditors with Priority Unsecured
                                                                                                              Claims
     Number         Street
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims

                                                                         Last 4 digits of account number
     City                                  State          ZIP Code

                                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                         Line    of (Check one):             Part 1: Creditors with Priority Unsecured
                                                                                                              Claims
     Number         Street
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims

     City                                  State          ZIP Code       Last 4 digits of account number

                                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                         Line    of (Check one):             Part 1: Creditors with Priority Unsecured
     Number         Street                                                                                    Claims
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims

     City                                  State          ZIP Code       Last 4 digits of account number

                                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
     Name
                                                                         Line    of (Check one):             Part 1: Creditors with Priority Unsecured
     Number         Street                                                                                    Claims
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     City                                  State          ZIP Code
                                                                         Last 4 digits of account number

Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         page 6 of 7
           Case 22-11023-amc                      Doc 8    Filed 04/21/22 Entered 04/21/22 15:23:08                    Desc Main
Debtor 1       Juanita                                    Document
                                                           Godshall     Page 25 of 33 Case number (if known)
               First Name           Middle Name             Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


1. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
   Add the amounts for each type of unsecured claim.




                                                                                     Total claim


                   6a. Domestic support obligations                            6a.
Total claims                                                                          $                     0.00
from Part 1
                   6b. Taxes and certain other debts you owe the
                       government                                              6b.    $                     0.00

                   6c. Claims for death or personal injury while you
                       were intoxicated                                        6c.
                                                                                      $                     0.00

                   6d. Other. Add all other priority unsecured claims.
                       Write that amount here.                                 6d.
                                                                                     +$                     0.00


                   6e. Total. Add lines 6a through 6d.                         6e.
                                                                                      $                     0.00



                                                                                     Total claim

                   6f. Student loans                                           6f.
Total claims                                                                          $                     0.00
from Part 2
                   6g. Obligations arising out of a separation agreement
                       or divorce that you did not report as priority
                       claims                                                  6g.    $                     0.00
                   6h. Debts to pension or profit-sharing plans, and
                       other similar debts                                     6h.    $                     0.00

                   6i. Other. Add all other nonpriority unsecured claims.
                       Write that amount here.                                 6i.   +$                43,228.23



                   6j. Total. Add lines 6f through 6i.                         6j.
                                                                                      $                43,228.23




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                             page 7 of 7
                   Case 22-11023-amc                 Doc 8       Filed 04/21/22 Entered 04/21/22 15:23:08                               Desc Main
Fill in this information to identify your case:
                                                                Document      Page 26 of 33

  Debtor 1              Juanita                                        Godshall
                        First Name             Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)   First Name             Middle Name              Last Name


  United States Bankruptcy Court for the: Eastern                      District of Pennsylvania


  Case number
   (If known)
                                                                                                                     Check if this is an amended filing.

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
   example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
   unexpired leases.

      Person or company with whom you have the contract or lease                                   State what the contract or lease is for

2.1
         Name


         Number             Street


         City                              State     ZIP Code

2.2
         Name


         Number             Street


         City                              State     ZIP Code

2.3
         Name


         Number             Street


         City                              State     ZIP Code

2.4
         Name


         Number             Street


         City                              State     ZIP Code

2.5
         Name


         Number             Street


         City                              State     ZIP Code


Official Form 106G                                     Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of 1
                Case 22-11023-amc                         Doc 8       Filed 04/21/22 Entered 04/21/22 15:23:08                                     Desc Main
Fill in this information to identify your case:
                                                                     Document      Page 27 of 33

 Debtor 1                Juanita                                                  Godshall
                         First Name                  Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing)     First Name                  Middle Name                  Last Name


 United States Bankruptcy Court for the: Eastern                                  District of Pennsylvania


 Case number
  (If known)
                                                                                                                              Check if this is an amended filing.

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                      12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
             No
             Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
             No. Go to line 3.
             Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                      No
                      Yes. In which community state or territory did you live?           . Fill in the name and current address of that person.


                        Name of your spouse, former spouse, or legal equivalent


                        Number          Street


                        City                               State    ZIP Code
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.
            Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                                       Check all schedules that apply:
3.1

          Name
                                                                                                                          Schedule D, line
                                                                                                                          Schedule E/F, line
          Number               Street                                                                                     Schedule G, line

          City                                    State      ZIP Code
3.2

          Name
                                                                                                                          Schedule D, line
                                                                                                                          Schedule E/F, line
          Number               Street                                                                                     Schedule G, line

          City                                    State      ZIP Code
3.3

          Name
                                                                                                                          Schedule D, line
                                                                                                                          Schedule E/F, line
          Number               Street                                                                                     Schedule G, line

          City                                    State      ZIP Code

Official Form 106H                                                         Schedule H: Your Codebtors                                                     page 1 of 1
                  Case 22-11023-amc               Doc 8      Filed 04/21/22 Entered 04/21/22 15:23:08                                         Desc Main
                                                            Document      Page 28 of 33
Fill in this information to identify your case:


 Debtor 1              Juanita                                      Godshall
                       First Name             Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name             Middle Name           Last Name


 United States Bankruptcy Court for the: Eastern                   District of Pennsylvania


 Case number
     (If known)                                                                                              Check if this is:
                                                                                                                    An amended filing
                                                                                                                    A supplement showing post-petition chapter 13
                                                                                                                     income as of the following date:

Official Form 106I                                                                                                   MM / DD / YYYY


Schedule I: Your Income                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:
                   Describe Employment

                                                                      Debtor 1                                              Debtor 2 or non-filing spouse
     If you have more than one
     job, attach a separate page                                          Employed                                           Employed
     with information about          Employment status
     additional employers.                                                Not employed                                       Not employed

     Include part-time, seasonal,
     or self-employed work.
                                     Occupation                     Patient Care Coordinator
     Occupation may Include
     student or homemaker, if it
     applies                         Employer’s name                Detweiler Family Medicine
                                     Employer’s address             1970 N. Broad St.
                                                                    Number Street                                       Number Street




                                                                    Lansdale            PA 19446
                                                                    City              State   ZIP Code                  City              State    ZIP Code

                                     How long employed there?       7 years



Part 2:            Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you
     need more space, attach a separate sheet to this form.
                                                                                                                            For Debtor 2 or
                                                                                                  For Debtor 1
                                                                                                                            non-filing spouse
2.      List monthly gross wages, salary, and commissions (before all
        payroll deductions). If not paid monthly, calculate what the monthly wage
        would be.                                                                       2.    $          3,471.46       $                   0.00

3.      Estimate and list monthly overtime pay.                                         3. + $               0.00   + $                     0.00


4.      Calculate gross income. Add line 2 + line 3.                                    4.    $          3,471.46       $                   0.00




Official Form 106I                                                Schedule I: Your Income                                                                     page 1
             Case 22-11023-amc                   Doc 8     Filed 04/21/22 Entered 04/21/22 15:23:08                                    Desc Main
Debtor 1         Juanita                                  Document
                                                           Godshall     Page 29 of 33 Case number (if known)
                 First Name        Middle Name              Last Name



                                                                                                                   For Debtor 2 or
                                                                                            For Debtor 1
                                                                                                                   non-filing spouse

     Copy line 4 here                                                                 4.    $       3,471.46        $               0.00

5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                5a.    $          622.67       $               0.00
     5b. Mandatory contributions for retirement plans                                 5b.    $             0.00      $               0.00
     5c. Voluntary contributions for retirement plans                                 5c.    $             0.00      $               0.00
     5d. Required repayments of retirement fund loans                                 5d.    $             0.00      $               0.00
     5e. Insurance                                                                    5e.    $          289.60       $               0.00
     5f.     Domestic support obligations                                             5f.    $             0.00      $               0.00
     5g. Union dues                                                                   5g.    $             0.00      $               0.00
     5h. Other deductions. Specify: ..                                                5h. +$               0.00    +$                0.00
6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h         6.    $          912.27       $               0.00

7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.               7.    $       2,559.19        $               0.00

8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                      8a.    $             0.00      $               0.00
     8b. Interest and dividends                                                       8b.    $             0.00      $               0.00
     8c. Family support payments that you, a non-filing spouse, or a
         dependent regularly receive
             Include alimony, spousal support, child support, maintenance,
             divorce settlement, and property settlement.                             8c.    $             0.00      $               0.00
     8d. Unemployment compensation                                                    8d.    $             0.00      $               0.00
     8e. Social Security                                                              8e.    $             0.00      $               0.00
     8f.     Other government assistance that you regularly receive
             Include cash assistance and the value (if know) of any non-cash
             assistance that you receive, such as food stamps (benefits under the
             Supplemental Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                 8f.    $             0.00      $               0.00
     8g. Pension or retirement income                                                 8g.    $             0.00      $               0.00
     8h. Other monthly income. Specify: ..                                            8h. +$               0.00    +$                0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e +8f +8g +8h                9.    $             0.00      $               0.00

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.        10.    $       2,559.19        $               0.00 = $       2,559.19

11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify:                                                                                                                         11. + $           0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data. If it applies.    12.   $       2,559.19
                                                                                                                                            Combined
                                                                                                                                            monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:


Official Form 106I                                                Schedule I: Your Income                                                             page 2
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Fill in this information to identify your case:
                                                             Document      Page 30 of 33

 Debtor 1              Juanita                                          Godshall
                       First Name             Middle Name               Last Name
                                                                                                              Check if this is:
 Debtor 2
 (Spouse, if filing)   First Name             Middle Name               Last Name                                    An amended filing
                                                                                                                     A supplement showing post-petition chapter 13
 United States Bankruptcy Court for the: Eastern                       District of Pennsylvania
                                                                                                                      income as of the following date:

 Case number
     (If known)
                                                                                                                        MM / DD / YYYY
                                                                                                                     A separate filing for Debtor 2 because
                                                                                                                      Debtor 2 maintains a separate household


Official Form 106J
Schedule J: Your Expenses                                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.
Part 1:            Describe Your Household

1. Is this a joint case?
      No. Go to line 2.
         Yes. Does Debtor 2 live in a separate household?
             No.
             Yes. Debtor 2 must file a separate Schedule J.
2. Do you have dependents                   No
       Do not list Debtor 1 and             Yes. Fill out this information for       Dependent’s relationship to
                                                                                      Debtor 1 or Debtor 2
                                                                                                                                  Dependent’s
                                                                                                                                  age
                                                                                                                                                Does dependent live
                                                                                                                                                with you?
       Debtor 2.                              each dependent
                                                                                                                                                   No
       Do not state the dependent’s
       names.
                                                                                                                                                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes

3. Do your expenses include                 No
   expenses of people other
   than yourself and your
                                            Yes.
   dependents?

Part 2:            Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                                    Your Expenses

4.      The rental or home ownership expenses for your residence. Include first mortgage
        payments and any rent for the ground or lot.                                                                     4. $                         945.00
        If not included on line 4:
        4a. Real estate taxes                                                                                          4a. $                              0.00

        4b. Property, homeowner’s, or renter’s insurance                                                               4b. $                              0.00

        4c. Home maintenance, repair, and upkeep expenses                                                              4c. $                              0.00

        4d. Homeowner’s association or condominium dues                                                                4d. $                              0.00

Official Form 106J                                                  Schedule J: Your Expenses                                                                    page 1
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Debtor 1        Juanita                                   Document
                                                           Godshall     Page 31 of 33 Case number (if known)
                First Name          Middle Name             Last Name


                                                                                                               Your Expenses

5.     Additional mortgage payments for your residence, such as home equity loans.                    5. $                      0.00
6.     Utilities:

     6a. Electricity, heat, natural gas                                                              6a. $                 180.00

     6b. Water, sewer, garbage collection                                                            6b. $                     57.00

     6c. Telephone, cell phone, Internet, satellite, and cable services                              6c. $                 120.00

     6d. Other. Specify:                                                                             6d. $                      0.00

7.     Food and housekeeping supplies                                                                 7. $                 450.00

8.     Childcare and children’s educational costs                                                     8. $                      0.00

9.     Clothing, laundry, and dry cleaning                                                            9. $                     20.00

10. Personal care products and services                                                              10. $                     31.00

11. Medical and dental expenses                                                                      11. $                 268.00
12. Transportation. Include gas, maintenance, bus or train fare.
    Do not include car payments.                                                                     12. $                 130.00

13. Entertainment, clubs recreation, newspapers, magazines, and books                                13. $                 100.00

14. Charitable contributions and religious donations                                                 14. $                      0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                         15a. $                       0.00

       15b. Health insurance                                                                       15b. $                       0.00

       15c. Vehicle insurance                                                                       15c. $                 135.00

       15d. Other insurance. Specify:                                                              15d. $                       0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16. $                      0.00
17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                             17a. $                  334.00
       17b. Car payments for Vehicle 2                                                             17b. $                       0.00

       17c. Other. Specify:                                                                         17c. $                      0.00

       17d. Other. Specify:                                                                        17d. $                       0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted
    from you pay on line 5, Schedule I, Your Income (Official Form B 6I).                            18. $                      0.00
19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19. $                      0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income:

       20a. Mortgages on other property                                                            20a. $                       0.00

       20b. Real estate taxes                                                                      20b. $                       0.00
       20c. Property, homeowner’s, or renter’s insurance                                            20c. $                      0.00

       20d. Maintenance, repair, and upkeep expenses                                               20d. $                       0.00

       20e. Homeowner’s association or condominium dues                                            20e. $                       0.00




Official Form 106J                                              Schedule J: Your Expenses                                              page 2
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Debtor 1      Juanita                                      Document
                                                            Godshall     Page 32 of 33 Case number (if known)
              First Name             Middle Name            Last Name



21. Other. Specify:                                                                                         21. $            0.00

22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                $        2,770.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                       $            0.00
    22c. Add lines 22a and 22b. The result is your monthly expenses.                                        22. $        2,770.00

23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                    23a. $        2,559.19
      23b. Copy your monthly expenses from line 22 above.                                                  23b. -$       2,770.00
      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                          23c. $         -210.81


24. Do you expect an increase or decrease in your expenses within the year after you file this form?:

     For example, do you expect to finish paying for your car loan within the year or do you expect your
     mortgage payment to increase or decrease because of a modification in the terms of your mortgage?

          No.
          Yes.      Explain here:




Official Form 106J                                              Schedule J: Your Expenses                                           page 3
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